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Exhibit A

'July 24, 2015

COMMONWEALTH OF MASSACHUSETTS

Division of A dministrative Law Appeals

Bureau of Special Education Appeals

 

DECISION
BSEA # 1408860

 

BEFORE

CATHERINE PUTNEY-YACESHYN
HEARING OFFICER

LAURIE R. MARTUCCI, ATTORNEY FOR STUDENT

ALISIA ST. FLORIAN, ATTORNEY FOR NATICK PUBLIC SCHOOLS

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MEMORANDUM
To: Parties in the matter of Student v. Natick P 'c Schools, BSEA # 1408860
From: The Bureau of Special Education Appeal '%/
Date: July 28, 2015
Re: Decision

There Were three paragraphs of the final decision of this matter which were inadvertently omitted
from the version of the decision which Was sent to the Parties on July 24, 2015. Enclosed is the
complete decision including the three paragraphs Which Were omitted and appear at pages 20-21.
The BSEA regrets any inconvenience this may have caused.

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COMMONWEALTH OF MASSACHUSETTS
DIV`ISION OF ADMINISTRATIVE LAW APPEALS
SPECIAL EDUCATION APPEALS

Student v. Natick Public Schools BSEA #1408860

QE_C_I_SQH

This decision is issued pursuant to M.G.L. c. 71B and 30A, 20 U.S.C. § 1401 §t_seq., 29 U.S.C. §
794, and the regulations promulgated under said statutes

PROCEDURAL HISTORY

Parent requested a hearing on May 26, 2014 which was scheduled for June 27, 2014. Natick
Public Schools (hereinafter, Natick) requested a postponement of the initial hearing date on June
2, 2014, which request was allowed. 'l`here was a pre-hearing conference on July 14, 2014 and
the hearing was rescheduled to proceed on November 18, 19, and 20, 2014. On September 30,
2014, Natick requested a postponement of the hearing which was allowed. The hearing was
rescheduled for January 5, 6, and 7, 2015. On January 7, 2015, the matter was reassigned to
Hearing Ofiicer Catherine Putney-Yaceshyn. There were telephone conference calls on January
28 and March 3, 2015. The hearing was rescheduled to proceed on May 12, 13, and 27, 2015.
The hearing was held on May 12, 13, 27, and 28, 2015. The Parties requested a postponement of
the closing of the record to submit closing arguments The hearing officer allowed their request
and set a deadline of June 12, 2015 for the submission of closing arguments Natick submitted
its closing argument on June 12. Parents submitted their closing argument on June 15, 2015 and

the record closed1 on that date.

Those present for all or part of the hearing were:

Mother

Father

Nan Coellner Parents’ special education teacher/consultant

Arlyn Roffman Parents’ transition consultant

Suzanne Flax Parents’ speech language pathologist

Steve Imber Parents’ educational consultant

En'n Gibbons Parents’ Neuropsychologist

Carole Tsang Transition Coordinator, Leaming Prep School
Nancy D’Hemecourt Teacher, Leaming Prep School

Cynthia Manning High School Pn'ncipal, Learning Prep School
Laurie Martucci Attomey for the Parents

Lindsay McGovern Assistant Direct of Student Services, Natick Public Schools
Timothy Luff Director of Student Services, Natick Public Schools

 

l Natick did not object to Parents' late filing of its closing argument

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School psychologist, Natick Public Schools

Donna Cyrnrot

Karen Liptak Special education teacher, Natick Public Schools
Christine Michelson Special education teacher, Natick Public Schools
Sarah Karian Speech language pathologist, Natick Public Schools
Katheryn Brown Transition coordinator, Natick Public Schools
James Franciose Special education teacher, Natick Public Schools
Anne Bohan Court Reporter

Carol Kusinitz Court Reporter

Alisia St. Florian Attorney, Natick Public Schools

Catherine Putney~Yaceshyn Hearing Oi`ftcer

The official record of this hearing consists of Parent’s exhibits marked P-l through P-90, and
Natick Public Schools’ exhibits marked S-l through S-53 and approximately six hours of
recorded oral testimony.

ISSUES

1. Whether Natick complied with the Student’s IEP in providing summer services during
the summer of 2012 and if not whether Student is owed any compensatory educational

services.

2. Whether the IEP proposed by Natick for the period from 2012-2013 was reasonably
calculated to provide the student with a free appropriate public education in the least
restrictive environment

Whether the IEP proposed by Natick for the period from 2013 -2014 Was reasonably
calculated to provide the student with a free appropriate public education in the least
restrictive environment

b.)

4. Whether the three IEPS proposed during the period from 2014-2015 were reasonably
calculated to provide the student with a free appropriate public education in the least
restrictive environment

5. Whether there were anyrprocedural violations committed by Natick that resulted in the
denial of FAPE to the Student

6. Whether or not Natick engaged in any discrimination or retaliation in violation of Section
1983 and Section 504.

7. If Natick’s IEPs are found to have been deficient, whether Farents are entitled to
reimbursement for their unilateral placement of Student at the Leaming Prep School.

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The student (hereinafter, “Student”) is eighteen years ole and resides in Natick, within the
Natick Public Schools, (hereinafter, “Natick”.) She has been diagnosed with Borderline
Intellectual Functioning3 and has been noted to have weakness in language functioning
(P-62) Her most recent neuropsychological evaluation indicates that Student has a Mild
lntellectual Disability along with ongoing weaknesses in receptive and expressive
language. (P-63) Student is organized, hard-working, cooperative and able to follow
classroom routine and class expectations She is a conscientious student who wants to do
well. (P-44) Student appears to have good self-esteem and social skills. (S-2, P-15)

Student was parentally placed at the Christa McAuliffe Charter Public School,
(hereinafter, “McAuliffe”) for the sixth through the eighth grades. (Father, S-6) Student
attended general education classes with approximately 12-13 students in each class and
with the constant support of either Nan Coellner or Marcia Soden at McAuliffe. (S-30, pg.
17), retired, experienced special education teachers who provided both in-class 1:1 support
and out of class teaching and tutoring services as well as modification to assignments and
tests. Parents privately paid for the services of Ms. Coellner and Ms. Soden. (Coellner)

Ms. Coellner noted that Student did not have any self-confidence in her academic abilities
when she met her in sixth grade. She saw her self-confidence improve during her three
years at McAuliffe. When Ms. Coellner first met her, Student was able to fill in blank in a
sentence. By the end of eighth grade Student was able to write a composition. She passed
the eighth grade English MCAS. Ms. Coellner did not conduct formal assessments of
Student, but measured her progress by observing her and reviewing work Student had
produced. Ms. Coellner concluded that inclusion with supports was very good for Student
and she was able to access grade level curriculum with modiiications. (Coellner)

Gina Dalan, Natick’s then~Director of Specia.l Education, sent Parents’ a letter dated June
5, 2012. The letter indicated that she had observed Student at McAuliEe and referenced a
previous Team meetings . Ms. Dalin stated that although she believed the Access program
(a substantially separate program with opportunities for inclusion for students with
intellectual disabilities and communication difficulties ((Michelson, Franciose)), described
more fully below) at the high school to be appropriate, as discussed at the meeting, the
Team would be proposing all replacement classes “in the spirit of cooperation and our
attempt to provide a comparable IEP for [Student].” She indicated that although there was
not an opportunity for Father or Parents’ private service providers to observe the proposed
program, Natick would plan to meet within the first couple of weeks of the next school
year for Natick to write a' new IEP for student She informed Father that he and his
providers could observe the program prior to the meeting if they desired. She informed

 

2 Student has dlegated continued decision making authority to her Parents regarding her special education services.

(s-47)

3 Dr. Gibbons modified her initial diagnosis of Student' m accordance with the DSM-$. Her current diagnosis ls
Mild Intel|ectual Disability. (P-63, Gibbons)
‘ Each night Ms. Coellner would e-mail Father to let him know how Student did. (Coellner)

The record does not contain a record of a previous Team meeting, but Father’ s testimony references a May 2012
Team meeting

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Father that she would be available to answer any of his questions until June 22, her last
day m the employ of the districts. (S-29)

Student attended Natick’s program for extended year services in July 2012. On the nrst
day when Student arrived, staff was not expecting her. Student was upset by the situation
and cried. (S-53) The issue was corrected alter the first day and Student attended the
remainder of the extended year program. (Father, S-52)

Parents’ attorney sent a letter to Natick’s attorney dated July 13, 2012 referencing a letter
she had written, dated June 13, 2012. ln her letter she acknowledged Natick’s offer to
place Student in all replacement classes, but requested a Team meeting during the summer
so that Natick would not feel compelled to offer a program it did not deem appropriate
(S- 53)

The Team met to discuss Student’s transition to Natick High School on July 27, 2012. (P-
43, S-6, P-20) The Team agreed to continue to implement the goals, objectives,
accommodations and modifications li'om Student’s then-current IEP developed by
McAuliffe and dated 4/4/12- 4/4/ 13 (S-7, S-6, P-20) The option of providing Student
with “replacement” classes7 was discussed and rejected by Natick, as it believed that the
least restrictive environment in which Student would receive FAPE was the Access
program. (S-6, P-20, S-28) At the conclusion of the meeting, Natick proposed the Access
program for Student. The Access pro gram, as described in the lEP, would provide Student
with direct special education services in small group English, history, science, math, and
vocational clases; direct special education services in electives in the general education
setting; and indirect consultation services. Dr. Imber recalled that Natick proposed the
Access program based upon some low test scores achieved by Student in testing he had
administered to her. He informed the Team that her test scores were not indicative of what
she could do in the classroom as demonstrated at McAuliffe. Natick proposed starting
Student in the Access program and reconvening to assess her progress and the
appropriateness of the program in October. Father suggested starting Student in the
general education setting with supports and services and assessing her progress in that
setting. Natick was not open to that. Dr. Imber recalled that Parents asked whether there
were students with autism or behavior disabilities in the Access Program and were told the
program was not designed for students with behavior disorders or emotional disturbance
Natick informed Parents that the program would have students very similar to Student,
largely with intellectual disabilities Dr. Imbers recalled that during a May 2012 meeting
Natick staff mentioned that the Access program allows opportunities for inclusion to the
extent that each individual student can manage it. He agreed that he and Parents were
informed that Student could participate in general education electives, but that specific
options were not addressed at that time. He recalled Natick staff stating that the guidance

 

‘ Ms. Dalin also informed Parents that the new Director of Special Education would begin working on July 2, 2012
and stated that she would leave all of Student’s information with him. (S-29)

7Replacement classes are designed for students who have communication disabilities, language-based learning
disabilities, specific learning disabilities, and reading difficulties They provide access to the regular cun'iculum, but
material ls presented at a slower pace. The classes follow the Massachusetts curricular standards (Liptak, Vol 3,
g. 143)
Steve C. Imber, Ph.D., is an educational consultant hired by the Parents. (Imber)

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counselors could best answer specific questions and would be available around August 20.
(Imber)

The proposed IEP indicated that Student was attending the Natick Extended School Year
program and that she was making slow progress while Working on her IEP goals and
objectives The Narrative Description of School District Proposal indicated that the
services would be delivered through the Access program. The IEP contained goals in the
following areas: communication, mathematics, socialization/peer interaction, reading
comprehension, writing composition, content vocabulary and study skills. The service
delivery grid contained consultation services in the area of speech language lx 15 minutes
per cycle and consultation between the staff and learning center teacher lx 15 minutes per
cycle. The B grid contained academic/electives with a “student support facilitator” (SSF)
9 x 80 minutes per cycle. The C grid contained speech language services with the speech
language pathologist 2 x 30 minutes per cycle; mathematics with the learning center
teacher and SSF 3 x 80 minutes per cycle; science with the learning center teacher and
SSF 3 x 80 minutes per cycle; vocational services with the learning center teacher/SSF 3 x
80 minutes per cycle; social studies with learning center teacher and SSF 3 x 80 minutes
per cycle, English/Language Arts with the learning center teacher and SSF 3 x 80 rriinutes
per cycle, and extended school year services. (P-20, S-6)

The Nonparticipation Justification section of the IEP stated that Student requires specially
designed instruction in small group classes outside of the general education setting for all
core academic content areas and for vocational/post-secondary skill development using
modified curriculum and approaches in order to make progress (P-20, S-6)

Parents rejected the IEP and placement in full on or around August 9, 2012. Father
attached a document indicating his reasons for the rejection lt stated that because Student
had been in a general education classroom for most of her academies for the past three
years, he believed that placing her in a self- contained classroom would hinder her growth.
He also rejected a number of goals because they were the same goals contained in the
McAuliffe IEP in the inclusion setting, and he thought the goals should change if the
setting was changing (S-6, Father) Father also believed that the hours of service were
decreasing from those provided in the prior IEP. (S~6) Dr. lmber did not believe the IEP
was appropriate for Student. His biggest concern Was that it proposed going from a
primarily inclusive environment [McAuliffe] to the most restrictive environment Natick
had. He did not believe that she would have access to the general education curriculum
and thus would not be able to pass MCAS. (Imber)

Parents’ attorney sent a letter to Natick’s attorney dated August l4, 2012. The letter
reiterates Parents’ rejection of Natick’s proposed IEP and placement and indicates that
Parents would be withdrawing Student from Natick, placing her at Learning Prep, and
seeking reimbursement from Natick. (P-40) `

Natick’s attorney responded to Parents’ attorney in a letter dated August 15, 2012. 'lhe
letter indicated that Natick declined to fund the unilateral placement and stated that the

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placement at Learning Prep was a more restrictive placement than the in-district program
Natick had proposed for Student. The letter also referenced a decision in BSEA # l 1-3131
in which the hearing officer had affirmed the appropriateness of Natick’s Access program
for Student (P-39)

Lindsey McGovern, Natick’s Assistant Director of Student Services, testified that she was
surprised that Parents and their experts found Natick’s proposal of the Access program to
be too restrictive for Student and that they then placed her in Leaining Prep, an out-of-
district placement She noted that the recommendations of Parents’ consultants (Ms. Flax
and Dr. lmber) had significantly changed over time. She also noted that Student’s profile
had not changed significantly and in fact she had made gains in expressive language,
which in Ms. McGovern’s view would warrant a less restrictive, not more restrictive

setting (McGoVern)
Student attended Leaining Prep for the 2012-2013 school year. (P-56, P-55, P-54, P-53)

Natick convened the Team on May 22, 2013 and Father participated in the meeting via
conference call. The Access teacher was at the meeting, but Father did not have any
questions for the teacher. The proposed IEP provided for support in the general education
setting for electives and the Team discussed a range of options for electives. The
Narrative Description of School District Proposal indicated that the services were to be
delivered within the Access Program. The goals and service delivery grid were very
similar to those previously proposed by Natick. Father rejected the IEP and the placement
on or around June lO, 2013. He sent a letter to Natick dated June 17, 2013 indicating that
he would be enrolling Student at Learriing Prep for extended school year services in 20.13
and for the 2013-2014 school year. He stated that his decision was based on the same
concerns he had raised with respect to Student’s lEP for the 2012-2013 school year. 'l`his
IEP contained a transition action plan which provided for Student to meet with her
guidance counselor to explore post-secondary learning opportunities and with the career
specialist to explore employment and internship possibilities lt also stated Student should
explore non-degree post-secondary progra.ms. The plan indicated Student would benefit
from exploring vocational opportunities and receiving vocational training lt stated
Student would learn to access community services and transportation in the community,
manage money and increase her social thinking strategies (P-3 8, S-5)

Student attended Leaining Prep for the 2013-2014 school year. (P-52, P-51, P-50)

Natick sent Parents an Evaluation Consent Form to perform her three-year evaluation on
or around March 12, 2014. Father rejected the proposed evaluation in full indicating that
before he consented he wanted a description of the tests that would be conducted and the
location (S-24) Father later provided consent for the proposed evaluations on April 15,
2014 and they were completed in May and June of 2014. (Father, S-24)

Student’s Team convened on April 15, 2014 and proposed an IEP for the period from
April 15, 2014 through April 15, 2015. The IEP was substantially similar to the IEPs
proposed by Natick for the two prior school years The IEP contained a transition

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planning Action Plan which listed a number of items for Student to work on in the
transition realrn. (S-4, P-l 8)

Father sent a letter to Natick, dated May 27, 2014, in which he rejected the proposed lEP
and placement He further stated his intent to place Student at Learning Prep for extended
year services and for the 2014-2015 school year. (P-37)

Donna Cyrnrot, School Psychologist, Natick Public Schools, conducted a psychological
evaluation of Student on May 23, 2014. She concluded that Student continued to show
competencies in social/emotional and behavioral domains with fairly even cognitive
functioning in the Extremely Low/Borderline range. She noted that cognitive
development was keeping pace with her age as indicated by her stable scores She noted
that Student continued to require special education supports to access her education due to
her cognitive and language limitations (S-9) Ms. Cymrot testified that Student had nicely
developed motor skills and age-appropriate social skills and behavior. She noted that the
area of long-standing deficit had been in the area of language (language understanding,
language expression, reading comprehension, and written language). Additionally,
Student has strong executive function skill, is very motivated and her behavior is age
appropriate, Based upon those factors, Ms. Cymrot believed that a language disability or
communication disability more accurately describes Student. Ms. Cymrot stated that
Student’s disability category would not have any impact on her service delivery. (Cymrot)

Mark D’Angelo, special education teacher, Natick, completed an “achievement
evaluation” on June 6, 2014. He administered the Wechsler lndividual Achievement Test,
Third Edition. He noted that Student’s composite score in reading fell at the thirteenth
percentile, her written expression score was at the seventh percentile, and her reading
comprehension and tluency scores fell below the average range. Both her mathematics
and mathematics tluency scores fell in the low range. l-le recommended some

accommodations (S~lO)

Sarah Karian, MS, CCC-SLP, Natick, conducted a speech and language re-evaluation on
May 27, 2014. Ms. Karian noted that Student demonstrated strengths in pragmatic
language, word memory, and comprehension of spoken paragraphs She demonstrated
less developed skills in the areas of memory, sentence formulation, and understanding
vocabulary and semantic relationships She reported that Student’s results revealed
significantly below average skills in the areas of receptive and expressive language,
language content and memory, She noted that Student’s impairments in most areas of
language impact her ability to learn through traditional measures and access regular

education curriculum. (S-l 1)

The Team reconvened on June 13, 2014 to review the results of Student’s three year
reevaluation The Team meeting summary indicates that the Team discussed Student
participating in an internship in an area of interest as well as in extracurricular activities
such as the fashion club. Student had stated that she is interested in cooking and fashion
and might be interested in going to school to study one of those areas The Team
discussed proposing a transition assessment of Student and a 688 referral was

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recommended 'l'he Team proposed some modifications to the previously proposed
service delivery grid. lt continued to propose consultation in the areas of speech language
and academies for fifteen minutes per cycle. lt added consultation between the speech
language pathologist and Student’s outside speech language therapist for six hours per
year. The B grid included general education social studies with a paraprofessional 2 x 80
minutes per cycle and health and electives with general education staff and a
paraprofessional 2 x 80 minutes per cycle. The C grid included speech/language services
with the speech language pathologist 2 x 45 minutes per cycle (1 individual and l group
session), English Language Arts (Writing, Literature) With a special education teacher 2 x
80 rriinutes per week (small group); Reading Comprehension with a special education
teacher 2 x 80 minutes per cycle in the Access class; mathematics with a special education
teacher 2 x 80 minutes per cycle in the Access class; Academic Support/Transition with a
special education teacher 4 x 80 minutes per cycle; science with a special education
teacher 2 x 80 minutes .per week. The C grid also contained extended year services in the
areas of speech language therapy and academic support (S-20, S-4, P-l7)

Father rejected the IEP and placement on or around July 7, 2014. (P-36) He sent a letter
to Natick dated July 7, 2014 stating he was rejecting the IEP because a transitional
assessment had not been done and he thought such assessment would change all of the
benchmarks and objectives and because he believed the total hours in the service delivery
grid exceeded the hours available in the sehool’s 4 day cycle, leaving no time for speech
language services ln the same letter he informed Natick that Student would be attending
Learning Prep for the 2014-2015 school year and Parents would seek reimbursement for
Student’s placement (P-36) Father testified that he also rejected the IEP because it
contained placement in Access classes and indicated that Student would take the MCAS

alternate assessment in math. (Father)
Student attended Leaining Prep for the 2014-2015 school year. (Father, (P-47, P-4 8)

Katheryn Brown, Natick’s Transition and Vocational Coordinator, conducted a transition
evaluation of Student on Oetober 22, 20149. (S-8, P-67) Ms. Brown concluded that
Student had clear interests in fashion, eooking, and baking, and most of all, hairstyling and
make-up application She noted that Student would require further development to build
her knowledge of requirements and skills for specific jobs, as she seemed completely
unaware of what training and skills will be necessary for her to become a hairstylist or
make-up artist. She recommended Student participate in transitional activities such as job
shadowing and internships in her two main areas of interest Ms. Brown made a number
of specific recommendations for IEP goals which are described in her report. (S-8, P-67)

The Team reconvened on November l4, 2014 to review the transitional assessment and
revised Student’s Transition Planning Fonn. (S-Z, P-15) The IEP, for the period from
November 14, 2014 through June 13, 2015, proposed Student having an extended day in

 

9 Ms. Brown used the Transition Planning Inventory, Employability Skills Inventory, Vineland ll, AIR Self-
Deterrnination Seale, Career Clusters lnterest Survey, Test of Interpersonal Competenee for Employment, Things
That Are Difficult for Me Questionnaire, Personal Strengths Checklist, Skills Checklist, Student lntervi`ew, and

Situational Work Assessment. (S-8, P-67, Brown)

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order to receive the recommended transition services lt provided that extended school day
services be provided by the transition coordinator 'to address Student’s goals in career

awareness and readiness and independent living skills

The service delivery grid provided for consultation services with the speech language
pathologist and between the general education teacher and paraprofessionals. The B grid
provides for student’s participation in academic/electives with a general education teacher
and paraprofessional 2 x 80 minutes per cycle and social studies Witli a general education
teacher and paraprofessional 2 x 80 minutes per cycle, The C grid contains speech
language with the speech language pathologist 2 X 45 minutes per cycle (l small group
and l individual session); science with a special education teacher 2 x 80 minutes per
cycle; mathematics with a special education teacher 2 x 80 minutes per cycle; academic
support with a special education teacher 4 x 80 minutes per eyele; reading comprehension
with a special education teacher 2 x 80 minutes per cycle; English/language arts with a
special education teacher 2 x 80 minutes per cycle; and Transition with a special education
teacher/transition specialist/job coach/paraprofessional 2 x 80 minutes per cycle. (S~Z, P-

15)

Katheryn Brown taught the vocational class for the Access program during the 2014-2015
school year. She worked with students and their families on their future vision to
determine what can be done in Access to prepare them for their vision. She begins
meeting with eighth grade students transitioning to the high school and then begins
working on the first day of their freshrnan year. lf Student had attended Natick High
School, there would have been potential opportunities for her to participate in job
shadowing in her career areas of interest Ms. Brown has students who job shadow in their
junior and senior years with the hope that it will lead to an internship in their area of

interest

Ms. Brown described the in-school vocational program provided to students at Natick
High School. She stated that there are many opportunities throughout the school for
students to practice and explore vocational skills There are jobs in the cafeteria including
cookie packaging, refilling the coolers, refilling the snack and chip displays, helping to run
the breakfast snack cart, preparing the ingredients for a smoothie bar. There are students
who work in the library at tasks such as setting up displays of books or setting up wall
displays, and l'l` tasks such as setting up PowerPoint presentations which are shown on
televisions throughout the building Ms. Brown could work on finding a job for Student
that would be specific to her interests such as cooking and baking

Student would not be required to receive her vocational class after school in an extended
day program. The extended clay option was one of several that were presented to Parents
by Lindsey McGovem. (Brown)

Father rejected the IEP in iiill because it contained an Access class for reading
comprehension which a Natick teacher told father had never been proposed for a student
before. Father assumed since it was never done before it was a “program that was just
being developed” and was thus inappropriate for Student Additionally, Father stated that

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with disabilities including autism, intellectual disability and traumatic brain injury. All the
students had some kind of communication deficit as well. None of the students in the
program was non-verbal There were four paraprofessionals in the program. She consults
with Ms. Brown, the transitional coordinator, daily. She described the Access program
and explained that typically all academic classes are provided within the Access
classroom, but students have the opportunity to be placed in replacement classes and small
group general education classes with paraprofessional support. Students have the ability
to be transferred from the Access classroom to a replacement or general education class at
any time in the school year. The decision to move a student to a different classroom is
very individualized Students are taught a modified curriculum according to their abilities
The curriculum is gleaned from the Massachusetts Curriculu.m Frameworks and grade-
level Common Core. None of the students misses time from academic classes to attend

speech language therapy.

Based upon her review of Student’s records, Ms. Michelson believes that the IEP proposed
by the Natick Public School for the 2014-2015 school year was appropriate for Student
and that she would have appropriate peers within the Access program. She believes that
her students benefit from the inclusion opportunities provided because she has seen them
make friends with students from other settings Ms. Michelson believes that the behaviors
that her students exhibit in class are the same behaviors that are typical in all high school
classrooms She stated that some of her students can be disruptive, but that is true in any
class She specified that one or two students in her class may “call out an answer”, but
they are easily redirected. Ms. Michelson believes that a blended program that includes
some Access classes some replacement classes and some general education classes with

support would be appropriate for Student.

Karen Liptak, special education teacher, Natick, is a learning center teacher and teaches
small-group English classes, referred to as replacement classes She described
replacement classes as being designed for students with communication disabilities
language-based learning disabilities and reading difficulties The students can access the
regular curriculum, but they need material to be presented at a slower pace. The classes
follow the Massachusetts curiicular standards Replacement class sizes vary from five to
ten students During the 2014-2015 school year she had one paraprofessional in her
English replacement class. She has seen students moved from the Access program into
replacement classes Ms. Liptak met Student and provided services to her during the
summer of 2012. She did not recall anything unusual about Student’s attendance or
participation in the summer program. She noted that Student was very amiable. Ms.
Liptak believes that the Access program would be an appropriate placement for Student
and that a blended program providing for some replacement classes with support would be
appropriate, She thinks the proposed transition program would meet Student’s needs
From her experience teaching replacement classes, she does not believe other students’
behavior will interfere with Student’s leaming. (Liptak)

Ms. McGovem, Assistant Director of Student Services, testified that the Team reconvened

in lanuary 2015 to review the rejected lEP. Ms. McGovern was concerned that Father had
indicated he had not previously had a chance to ask all of his questions 'l`hat was not her

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impression of previous meetings but she wanted to make sure she was mindful of asking
if Father had any remaining questions She prepared a projection explaining four proposed
schedules that Student could have at Natick High School. She later prepared written
copies of the sample schedules and sent them to Parents In order to accommodate
Father’s concern that Student be able to participate in electives, she proposed providing
Student’s vocational class after school as part of` an extended school day. She was trying
to balance the Parents’ concern that Student spend some time in the general education
setting with the proposed service delivery grid, which contained a number of services,
including double English classes10

Arlyn Roffman, Ph.D.“, has worked at Lesley University for 37 years where she founded
the Threshold Program, a transition program for young adults with disabilities in 1981.
She reviewed Student’s relevant lEPs‘z, met Student in late 2012, and observed her at
Learning Prep twice. Dr. Roffman was critical of Natick’s Action Plan in the IEP for the
period from May 2013-May 2014 (S-5) because it did not contain goals and was not
measurable. Additionally, she opined that the transition plan contained in S-4 was not
properly filled out. She stated that it was not clear what the services would be horn the
IEP. Dr. Roff`ma.n observed a career class at Natick High School in Oetober 2014 and
noted some “very good teaching.” She observed what was described to her as students
learning prevocational skills of following directions and routine and following through.
She observed students getting cookies and putting them into waxed paper bags to be sold
at lunch. She noted very good prompting and no behavioral issues She also observed
students wiping down fitness equipment in the gym and shelving books at the library. She
noted that the cookie task would not be a challenge or of interest to Student and she did
not think it would lead to any sort of competitive employment She did not find the length
of the eighty minute blocks at Natick to be problematic for student and noted that students
could be helped to work on memory. She did not think it would be appropriate for Student
to receive her transitional services in a 1:1 setting, because she though Student would
benefit more from learning from peers and benefitting from their lessons as well. She
noted that Natick’s 2014 assessment of Student’s transitional needs was adequate. Dr.
Roff`man concluded that Natick did not provide appropriate transitional planning or
propose appropriate transitional services for any of the IEP periods at issue.

Dr. Roffman wrote a report dated May 4, 201513. In it, she noted that an appropriate
transition program for Student should include employment training that would prepare her
for competitive employment or for entry into competitive employment lt should also

 

'° Ms. McGovern explained that Natick proposed that Student participate in two English classes (one replacement
English class and one Access reading comprehension class) because she enjoys writing and has some relative
strength in that area, but needs rigorous instruction in reading comprehension, She would then be averaging one 80
minute English class per day` (McGovem)

" Dr. Roffman has a Ph.D. in developmental psychology, a Master’s degree in learning disabilities and is a licensed
special education teacher. (Rothrnan)

12 Dr. Rofl`rnan’s testimony indicates that the lEPs she reviewed prior to the hearing may not have been complete
copies of the lEPs. (See testimony of Arlyn Roflinan, Transcript, Vol. 1, pgs. 199-200)

13 She had not recently observed Student or evaluated her, She knew that the report had to be available for the
hearing in this matter. She never attended a Team meeting and Natick had never seen her report prior to the hearing

(Roffman)

12

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contain community living skills which would give her hands-on experience in areas of
need, and contain postsecondary planning activities that would give Student a chance to
see what is out there and assistance with making application to programs She did not
think Student’s services should be provided 1:1, but that Student should be integrated as
much as possible. Dr. Roffman believes Student’s educational program should be
provided with students of differing disabilities and the opportunity for some inclusion.

(Roffman)

40. Dr. Gibbons, a neuropsychologist who evaluated Student in 2012 and 2014, testified that
her recommendations for Student have been consistent since 2012. She found that Student
needs language-based instruction14 based on her significant language impairments and
requires small classes of six to eight students She requires multimodal instruction, such
as use of thinking maps and other graphic organizers She stated that Student requires
substantially separate special education classes for her academics. Dr. Gibbons found
Natick’s four day block scheduling concerning because she thinks Student requires daily
repetition of each class, especially classes like reading comprehension, which is an area in
which Student requires additional support. She did not think it would have been
appropriate for Student to be in mainstream classes at Natick Public Schools after

attending the McAuliff`e School. (Gibbons)

41. Suzanne Flax has an M.S. in speech/language pathology and has provided Student private
weekly speech language services since 2007. When Ms. Flax began working with her,
Student did not use a lot of verbal language and was not initiating language, In June 2014
she observed at Natick High School for approximately two hours15.

42. Ms. Flax stated that students’ behaviors at Learning Prep are less disruptive than the
students’ behavior in the Access program based upon Spending one hour in an Access
classroom in Natick. She further stated that there are no peers in the Access program with
whom Student would have been able to make a social connection She testified that she
was absolutely positive that Student would not have made any friends in the Access
program given the level of disability that she observed and the lack of interaction of the
students with one another. Ms. Flax noted that since Student has been attending Learning
Prep she has been using significantly more verbal language and initiating more language
She believes this is because she is interacting with other children who have verbal
language at or above her level. She believes Student requires a consistent schedule nom
day to day due to her language processing issues and short and long term memory deficits
(Flax) Dr. Imber also noted concern about Natick’s block schedule. He thought that fact
that the schedule rotates would be challenging for Student. (Imber)

43. Although in 2012 Ms. Flax recommended a general education placement for Student, in
2014 she recommended a small substantially separate, language-based, program for her.
She stated that her reason for changing her recommendation is because Student has made
language gains She no longer believes that a general education program would be

 

1'1 She defined language based instruction entailing material being presented at a slower pace, language is simplified,
there is a lot of repetition, additional clarification if needed, and previewing and reviewing (Gibbons)
15 Ms. F lax also “interviewed” Lindsey McGovem and lim Francoise. (Flax)

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While an [EP must conform to the procedural and substantive requirements of the IDEA, “the
obligation to devise a custom tailored lEP does not imply that a disabled child is entitled to the
maximum education benefit possible.” Lessard, v. Wilton-Lyndenborough Cooperative School
District et.al., 518 F.3d 18 at 23.

There are two parts to the legal analysis of a school district's compliance with the IDEA. First,
the hearing officer must determine whether the district has complied with the procedures set
forth in the IDEA. (Rowley, supra, 458 U.S. at pp. 206-207.) Second, the hearing officer must
decide whether the IEP developed through those procedures was designed to meet the child's
unique needs, and was reasonably calculated to enable the child to receive educational benefit

abid.)

An IEP is notjudged in hindsight; its reasonableness is evaluated in light of the information
available at the time it was promulgated Roland M. v. Concord Sch. Comm., 910 F.2d 983, 992

(isr cir. 1990)

The burden of persuasion in an administrative hearing challenging an IEP is placed upon the
party seeking relief. Scha/j’er v. Weast, 546 U.S. 49, 126 S. Ct. 528, 534, 537 (2005) In this
case, Parents are the party seeking relief, and thus have the burden of persuading the hearing

officer of their position.

With the foregoing legal framework in mind, l turn to the issues before me. First, whether
Natick complied with Student’s IEP regarding Student’s extended year services for the summer
of 20 1 2. Natick does not dispute Parents’ claims that its staff was not aware that Student would
be attending its program on the first day. Parents do not dispute the testimony of Natick’s staff
that Student attended the remainder of the summer program, participated appropriately, and
completed work. The purpose of extended year services is to prevent substantial regression. 603
CMR 28.05(4)(d). Parents did not provide any testimony to suggest that Student regressed in her
skills as a result of not receiving services for one day of her summer program. Although Father
testified that Student cried and was emotionally upset about not receiving services on the first
day, he did not provide any credible evidence that Student was denied a free appropriate public
education. Thus, there is no basis for awarding compensatory services to Student.

l turn now to the appropriateness of the IEP for the period from 2012-2013. At the time Natick
proposed the IEP Student had just completed three years at McAuliffe where she had been
placed by her parents While at McAuliffe, although Student received academic services in a
general education setting, she did so with the assistance of a full time one-to-one assistant who
also acted as a one-to-one tutor as needed. (Coellner) Although none of the witnesses testified
about the level of restrictiveness of such a placement, the hearing officer took note of it. Parents
and their witnesses argued that Natick’s proposed IEP placing Student in the Access program
was overly restrictive because it did not provide for Student’s education within the general
education setting However, it was less restrictive than Student’s McAuliffe placement because
it did not provide for the assistance of a one to one aide throughout the day. lt provided Student
the opportunity to independently access academic services in a program speciically designed for
students with profiles similar to Student’s lf Parents were truly seeking a less restrictive setting

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in Natick, they could have accepted Natick’s offer to place Student in all replacement classes as
relayed to them by Gina Dalan’s letter dated June 5, 2012.

The evidence shows that Natick reviewed all information available to them at the time of the
May and J'uly 2012 Team meetings including results of Student’s then-most recent testing, the
verbal reports of service providers from McAuliffe, Parents’ suggestions and concerns and the
previous BSEA decision which had upheld the appropriateness of an Access program for
Student. (McGovern, S-30)

One of Parents’ stated reasons for rejecting the IEP Was that the goals in the proposed IEP were
the same goals contained in the McAuliffe IEP in the inclusion setting, and Father thought the
goals should change if the setting was changing. (S-6, Father) As Father testified that he does
not have any credentials in education, this reason is not considered valid by the hearing officer.
Further, Parents could have limited their rejection to the goals of the IEP without rejecting it in
its entirety. Father also believed that the hours of service in the proposed IEP were decreasing
from those provided in the prior IEP. (S-6) He did not present any credible evidence to support
that presumption Dr. lmber was primarily concerned that the proposed IEP placed Student in
Natick’s most restrictive environment after she had participated in a primarily inclusive
environment [McAuliffe]. As stated above, based on the evidence presented Natick’s proposal
for Student emerges as less restrictive than Student’s placement at McAuliffe. Additionally, as
noted above, Student had the option of enrolling iii all replacement classes at Natick High
School. Dr. lrnber affirmed that this offer had been made to Parents during a May 2012 meeting

(imber>

Finally, the Parents indicated that Natick’s proposal for Student’s placement in the Access class
would be inappropriate because it would not provide Student with access to the general
curriculum and she would thus be unable to pass MCAS. Again, this was an assumption made
by Parents and their evaluators that was not supported by the evidence before me.

Mr. Franciose, the lead teacher of the Access program for most of the time period relevant to this
hearing, testified that students in the Access program are routinely placed in replacement classes
when their abilities and classroom performance indicate it is appropriate Although Parents did
not have the opportunity to speak to Mr. Franciose at the time that the IEP was proposed, they
were able to ask questions to other Natick Team members Ms. Dalin, Natick’s then-Special
Education Director sent Parents a letter dated June 6, 2012, which among other things informed
them that she was available to answer questions at any time until June 22, 2012. Parents could
have raised questions to Ms. Dalin or other Natick Team members regarding the ability of
Student to access the general curriculum within the Access program.

Parents also point to the fact that they Were not able to observe the Access program prior to the '
beginning of the 2012-2013 school year. Natick did not dispute the fact that Parents had not
observed the program prior to the commencement of the school year. However, in addition to
Team meetings in May and July where the program was described and Parents were provided

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opportunities to ask questions about the programla, Natick provided Parents opportunities to
address any and all questions to Ms. Dalin or Mr. Luff. Dr. lrnber was not able to specify what
questions Parents still had after the July meeting other than not knowing which specific electives
Would be available for Student. Dr. lmber stated that Natick informed Parents that the guidance
counselors could provide specific information about elective classes when staff returned to
school in late August. Further, Ms. Dalin suggested that Parents and their consultants visit the
program early in the fall and offered to convene the Team within the first couple of weeks of

school to adjust the IEP as necessary.

Father’s testimony that Parents had to make a decision about whether to place Student in Natick
prior to the return of the guidance counselors from summer break was unpersuasive The
evidence suggests Parents may have made a decision to place Student at Learning Prep as early
as June 2012 Ms. Dalin sent an e-mail to Katie Clark of McAuliffe on June 5, 2012 requesting
copies of Student’s “transition paperworl<.” Ms. Clark responded to Ms. Dalin in an e~mail dated
June 6, 2012 in which she noted, “the transition plan was written with the anticipation that she
[Student] was attending Learning Prep High School.” (P-75, pg. 10)

Based upon the foregoing, I find that Natick’s proposed IEP for the period from 7/27/2012--
4/4/2013 was reasonably calculated to provide Student with a free appropriate public education
in the least restrictive environment

Natick proposed an IEP for the period from 2013-2014 that was substantially similar to the IEP it
proposed the prior year. Student had attended Learning Prep pursuant to a unilateral parental
placement during the prior school year and there was not any new information about Student for
the Team to consider. Father’s rejection letter stated that he was rejecting the IEP for the same
reasons that he had rejected the prior IEP. For the reasons that l found that the 2012-2013 IEP
was reasonably calculated to provide Student with a free appropriate public education in the least
restrictive environment, I also find that the IEP proposed for the period from 2013-2014 was
reasonably calculated to provide Student with a free appropriate public education in the least

restrictive environment.

Next l turn to the appropriateness of the IEPs proposed for Student during the period from 2014-
2015 The first IEP proposed by Natick during this time period was the lEP for the period from
April 15, 2014 through April 15, 2015. At that point in time, Natick had sent Parents a request
for consent to complete Student’ s three-year evaluation Parents had not yet provided consent
due to questions regarding the assessments The Team convened without having updated
information to prevent expiration of the IEP. It was proposed with the understanding that the
Team would reconvene to review the results of the three-year evaluation and changes could be

made to the IEP at that time, (McGovem)

The next IEP proposed for that time period was the IEP for the period from June 13, 2014-June
13, 2015. This IEP contained a number of changes from the previous IEPS, including a proposal
for Student to participate in a general education class and some replacement classes Ms.

 

18 The Team attendance sheet from the July 27, 2012 shows that Tim Luff, Lindsey McGovem, Paul 'l`agliapietra
(Asstistant Director of Student Services), Susan Balboni (Assistant Director of Student Services), and Rose Bertucci
(Principal of Natick High School) were all present at the meeting

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McGovem credibly testified that the changes to the IEP were made based upon the review of
Student’s evaluations and some helpful information provided by Learning Prep, including
Educational Assessment Forms A and B. Father rejected the IEP' in part because a transition
assessment had not been done and he believed such assessment would result in changes to the
benchmarks and objectives of the IEP, Additionally, he believed that the proposed services
could not be provided within the four day cycle used at Natick High School and thus Student
would not receive her speech language services. He further rejected the IEP because it
continued the proposal that Student attend some Access classes and proposed that Student take

the MCAS-alt in math.

I find that despite Father’s objections the IEP was reasonably calculated to provide Student With
a free appropriate public education in the least restrictive environment The record contains no
support for Father’s conclusion that Student’s services could not be provided as written and that
she would not receive her speech language support. While it is true that Natick had not yet
conducted a transitional evaluation and might have adjusted objectives and benchmarks after
conducting it, that has no bearing on the appropriateness of what was proposed by Natick, In
fact, the record shows that Natick did later conduct a transitional evaluation and propose and
update IEP, Although Father continued to reject Student’s placement in any Access classes the
credible evidence shows that placement in Access math and reading comprehension classes was
appropriate for Student. Ms. McGovem credibly testified that Student was placed in the Access
math class to address an area which has always been an area of significant need for Student. The
Team proposed providing Student with two different English classes. To address an area of
significant need reading comprehension would be provided within the Access setting, where she
would receive additional support And, recognizing that Student has an interest and relative
strength in writing, participation in a replacement English class. This proposal would also
address a concern raised by Father, Ms. Flax, and Dr. Imber regarding the rotating block
scheduling at Natick High School]g, as Student would receive some instruction in
English/language arts for eighty minutes every cycle, Both Ms. Liptak and Ms. Cyrnrot credibly
testified that this “blended program” that Natick was proposing, whereby Student would receive
some services in the more restrictive substantially separate Access program, some services in the
replacement classes and some services in the general educational with paraprofessional support,
would be appropriate for Student. Ms. Liptak noted that Student would benefit from the
opportunity to interact with different peers in the different classes. She also noted that Student
would benefit from working with peers with writing, social and reading strengths within the
different settings (Liptak) Ms. Cyrnrot believed the blended program was appropriate for
Student because it would allow her areas of weakness to be addressed intensely (within the
Access program) while allowing her to receive content instruction in the less restrictive

replacement classes. (Cymrot)

With respect to the issue of the MCAS-alt being proposed for Student, Ms. McGovem and Mr.
Franciose credibly testified that students within the Access program often take the regular
MCAS exam. They both noted that students are routinely moved from Access classes to
replacement classes where they can receive instruction geared toward passing the MCAS.

 

'9 Although Dr. Imber and Ms. F lax testified regarding their concerns about the appropriateness of the rotating block
schedule due to Student’s memory issues, this issue was not formally raised to the Team until Father’s rejection of
the IEP in November 2014. Thus, it could not have formed the basis of Parents’ rejection of prior IEPs. (P-26)

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Based upon the foregoing, l find that the IEP proposed by Natick for the period from June 13,
2014-June 13, 2015 was reasonably calculated to provide Student with a fiee appropriate public

education in the least restrictive environment

Next, I turn to the appropriateness of the IEP proposed for the period from November 14, 2014
through June 13, 2015. l find that this IEP continued to offer appropriate services to address all
of Student’s areas of needs The IEP contained many of the same services as the prior IEP, but
contained additional transitional services Father, Ms. Flax, and Ms. Coellner criticized the
program because it proposed that Student receive her transition class in a 111 setting after school.
However, Ms. McGovem testified that she presented several different scheduling options to
Parents to accommodate the number of services proposed for Student. The option of providing
an extended school day was presented as a way to allow Student to continue to receive non-
academic general education electives during the school day while still providing her with all the
services contained in her service delivery grid. l find that it was appropriate for Natick to
propose extended day services as one option for Parents to choose from to enable to Student to
receive more inclusion opportunities during the school day, while still receiving all of the
transition services she requires Parents could have chosen one of the other scheduling options

offered for Student to receive her necessary IEP services

Parents relied primarily on Dr. Roffman for their conclusion that the transition services proposed
for Student were not appropriate, Most of Dr. Roffman’s criticisms of the transition services
Natick proposed related to her opinion that forms were not filled out correctly. However, she
found that the transition assessment done by Natick was adequate Most of her criticism of
Natick’s vocational services centered around her belief that it was inappropriate for Student to
receive her vocational services as part of an extended day in a 1:1 setting. As described above,
the proposal for Student to receive after school services was just one of many options presented
to Parents and thus, is not a basis for finding vocational services to be inappropriate Dr.
Roffman’s other substantive criticism of Natick’s proposed vocational services was that Student
would not receive services tied to her interests Ms. Brown addressed this concem when she
described how Natick individualizes students’ programs to align with their interests She stated
that if she were to begin working with Student she would first seek to find her a task relating to

her noted interests in cooking and baking. (Brown)

Parents also point to Natick’s decision to change Student’s disability category from intellectual
to communication Although they clearly disagree with this decision, they have not pointed to
any impact that this decision has or will have on Student’s service delivery. Natick staff credibly
testified that the change of disability category will not change the way in which services are
delivered to Student and Parents did not provide any evidence to the contrary. (Cymrot, Karian)

Based upon the foregoing, Parents have not met their burden of showing that the IEP proposed
for Student for the period from November 14, 2014 - June 13, 2015 was not reasonably
calculated to provide Student With a free appropriate public education in the least restrictive

environment

l now turn to the Parents’ claims of procedural violations The record is unclear as to what
procedural violations Parents believe Natick committed There were many references throughout

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the Parents’ case to Parents and/or their experts being unable to obtain answers to their questions
The credible evidence before me does not support any claim that Parents may be alleging that
they were unable to receive information and thus participate in the Team’s decision making The
record shows that Natick convened many Team meetings during the course of the period of time
at issue during which Parents and their consultants had opportunities to ask questions
Additionally, in 2012, Ms. Dalin provided Parents with contact information to enable them to ask
her or her predecessor questions regarding the proposed placement Ms. McGovem and Mr.
Franciose made themselves available on one occasion to specifically address Parents (and their
consultant’s) questions about the program. Parents did not present any evidence of an instance in
which they were not able to participate in the Team process or were unable to get answers to
their questions Although Dr. Imber made several references to not being able to get his
questions answered, he was unable to point to a specific example of this l find that Parents were
provided with opportunities to participate in the Team process l arn not aware of any other
instances in the record in which Parents claim Natick committed any procedural violations
Parents have not met their burden of showing that Natick has committed any procedural

violations

I now address Parents’ claims of Natick’s engaging in discrimination or retaliation in violation of
Section 1983 and Section 504. Again, the record is unclear as to the basis of Parents’ allegations
in this regard. Thus, Parents have not met their burden of showing that Natick engaged in
discrimination Additionally, the BSEA does not have jurisdiction over claims of discrimination

under Section 1983.

Finally, Parents seek reimbursement for their unilateral placement of Student at Learning Prep
for the 2012-2013, 2013-2014, and 2014-2015 school years As I have found the IEPs proposed
by Natick to be reasonably calculated to provide Student with a free appropriate public education
in the least restrictive environment, it is not necessary to address the appropriateness of Learning

Prep,

ln reaching the above decision I did not rely on the testimony of Ms. Flax, as I did not find her to
be a credible witness Although she had appropriate credentials and experience as a speech and
language pathologist, the statements she made during her testimony caused her to lose
credibility F or example, she steadfastly stated that Student would not benefit at all from any
inclusion. This statement was not supported by any other witness for either party, nor did it
comport With Ms. Flax’s own prior recommendations for Student’s programming

Additionally, she stated that she was absolutely certain that Student would not have made any
friends in the Access program, had she attended This is a statement is so speculative as to carry

no evidentiary value.

I also did not rely upon Dr. Imber’s testimony. A careful review of his testimony shows that his
current recommendations were primarily based upon Student’s performance at Learning Prep.
Although he did not share Ms. Flax’s belief that Student would not receive any benefit from
inclusion, he did previously support an inclusive placement for Student yet currently stated that
he no longer believed that inclusion was as important for Student based upon her performance at
Learning Prep. Based upon that opinion, it appears that Dr. Imber has changed his

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recommendations to align with which ever placement she was in at the time he was asked to state
his opinion.

1 did not rely upon the most recent reports submitted by Ms. F lax or Dr. Imber, as they were first
presented to Natick as exhibits in the hearing and the Team did not have the opportunity to
review them prior to the hearing Likewise, l did not rely upon the written report of Dr. Roffman
as it was not received by Natick prior to the hearing

ORDER

Based upon the foregoing l find that Natick complied with Student’ s IEP during the summer of
2012 and find no basis for awarding compensatory services to Student.

l find that the IEPs proposed by the Natick Public Schools covering the 2012~2013, 2013-2014
and 2014-2015 school years were reasonably calculated to provide Student with a free
appropriate public education in the least restrictive environment

l have found no evidence of procedural violations that resulted rn a denial of a free appropriate
public education to Student

l have found no evidence that Natick discriminated against Student/Parents under sections 1983
or 504

By the Hearing Officer,

Catherine M Putney- YaceshynU
Dated: July 24, 2015

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COMMONWEALTH OF MASSACHUSETTS
BUREAU OF SPEClAL EDUCATION APPEALS

EFFECT OF BUREAU DECISION AND RIGHTS OF APPEAL

Effect of the Decision

20 U.S.C. s 1415(1)(1)(B) requires that a decision of the Bureau of Special Education Appeals
be final and subject to no further agency review. Accordingly, the Bureau cannot permit
motions to reconsider or to re-open a Bureau decision once it is issued. Bureau decisions are
final decisions subject only to judicial review.

Except as set forth below, the final decision of the Bureau must be implemented immediately
Pursuant to M.G.L. c. 30A, s. 14(3), appeal of the decision does not operate as a stay. Rather, a
party seeking to stay the decision of the Bureau must obtain such stay from the court having

jurisdiction over the party's appeal.

Under the provisions of 20 U.S.C. s. 1415(j), "unless the State or local education agency and the
parents otherwise agree, the child shall remain in the then-current educational placemen ,"
during the pendency of any judicial appeal of the Bureau decision, unless the child is seeking
initial admission to a public school, in which case "with the consent of the parents the child
shall be placed in the public school program". Therefore, where the Bureau has ordered the
public school to place the child in a new placement and the parents or guardian agee with that
order, the public school shall immediately implement the placement ordered by the Bureau.
School Commz`z‘z‘ee of Burlz'ngton, v. Massachusetts Department ofEducatz'on, 471 U.S. 359
(1985). Otherwise, a party seeking to change the child's placement during the pendency of
judicial proceedings must seek a preliminary injunction ordering such a change in placement
from the court having jurisdiction over the appeal. Honz'g v. Doe, 484 U.S. 305 (1988); Doe v.
Brooklz'ne, 722 F.2d 910 (lst Cir. 1983).

wnm

A party contending that a Bureau of Special Education Appeals decision is not being
implemented may file a motion with the Bureau of Special Education Appeals contending
that the decision is not being implemented and setting out the areas of non-compliance The
Hearing Officer may convene a hearing at which the scope of the inquiry shall be limited to
the facts on the issue of compliance, facts of such a nature as to excuse performance, and
facts bearing on a remedy. Upon a finding of non-compliance, the Hearing Officer may
fashion appropriate relief, including referral of the matter to the Legal Office of the
Department of Education or other office for appropriate enforcement action. 603 CMR

28.08(6)(b).

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Rights of Appeal

Any party aggrieved by a decision of the Bureau of Special Education Appeals may file a
complaint in the state superior court of competent jurisdiction or in the District Court of the
United States for Massachusetts for review of the Bureau dccision. 20 U.S.C. s. 1415(1)(2).

An appeal of a Bureau decision to state superior court or to federal district court must be
filed within ninety (90) days from the date of the decision 20 U.S.C. s. 1415(1)(2)(B).

Confidentiali§

In order to preserve the confidentiality of the student involved in these proceedings when an
appeal is taken to superior court or to federal district court, the parties are strongly urged to file
the complaint without identifying the true name of the parents or the child, and to move that all
exhibits including the transcript of the hearing before the Bureau of Special Education Appeals
be impounded by the court See Webster Grove_School District v. Pulizzer Publishz`ng
Company, 898 F.2d 1371 (8th Cir. 1990). If the appealing party does not seek to impound the
documents the Bureau of Special Education Appeals through the Attorney General's Office,
may move to impound the documents

Record of the Hearing

The Bureau of Special Education Appeals will provide an electronic verbatim record of the
hearing to any party, free of charge, upon receipt of a written request Pursuant to federal law,
upon receipt of a written request from any party, the Bureau of Special Education Appeals will
arrange for and provide a certified written transcription of the entire proceedings by a certified
court reporter, dee of charge.

